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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   In the Matter of the Application of                     CASE NO. C17-1453-JCC
     LUFTHANSA TECHNICK AG, Petitioner, for
10
     an Order Pursuant to 28 U.S.C. § 1782 to Take           ORDER
11   Discovery, Pursuant to the Federal Rules of
     Civil Procedure, of Respondent PANASONIC
12   AVIONICS CORPORATION, for Use in
     Foreign Proceedings, with ASTRONICS
13   ADVANCED ELECTRONIC SYSTEMS as
     Intervenor.
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15          This matter comes before the Court on Petitioner Lufthansa Technick AG’s motion to

16   enforce the Court’s prior order and for a finding of contempt (Dkt. No. 155). In its motion,

17   Lufthansa asserts that Intervenor Astronics Advanced Electronic Systems Corp. (“AES”) has not

18   fully complied with the Court’s June 22, 2021 order (Dkt. No. 152) compelling AES to produce

19   certain documents responsive to Lufthansa’s 2019 subpoena in support of its European patent

20   infringement suits. (See generally Dkt. No. 155.)

21          While AES concedes that it had not fully complied with the Court’s order by November

22   4, 2021, when Lufthansa moved to enforce and for sanctions, (see Dkt. No. 160 at 10), AES

23   contends that it has now fully complied. (See Dkt. No. 170). Lufthansa disputes the completeness

24   and adequacy of AES’s final production. (See Dkt. No. 171 at 4–7.) But it is not entirely clear to

25   the Court what the state of AES’s production is, given what Lufthansa contends are systematic

26   deficiencies in AES’s production. (See Dkt. No. 164-1 at 3.)


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 1           The most expedient way to resolve the dispute appears to be to move forward with the

 2   proposed Rule 30(b)(6) deposition(s) regarding the discovery produced to date. (See Dkt. Nos.

 3   155 at 3, 160 at 2.) Following the deposition(s), Lufthansa may renew its motion. Accordingly,

 4   AES is ORDERED, by no later than December 17, 2021, to make one or more of its

 5   representatives available for a deposition responsive to topics 1 identified by Lufthansa, who shall

 6   do so no later than December 9, 2021. Should Lufthansa deem that a renewed and/or revised

 7   motion is necessary following completion of the deposition(s), Lufthansa may so move on the

 8   following expedited basis:
 9       •   Noting date: 10 days after the filing date;
10       •   Response brief due: 3 days before the noting date, and
11       •   Reply brief due: on the noting date 2
12           The Clerk is DIRECTED to terminate Lufthansa’s motion (Dkt No. 155).

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14           DATED this 2nd day of December 2021.




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                                                           John C. Coughenour
18                                                         UNITED STATES DISTRICT JUDGE
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       The topics proposed may be both substantive and procedural, including the manner in which
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     AES compiled the information sought, but they are limited in scope to the information sought in
25   the 2019 subpoena.
     2
      In supporting their briefing on the revised motion, the parties may refer to declarations to date
26   and/or provide supplemental declarations as they deem necessary.

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